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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF FLORIDA

 CARMEN SIEBLER, as Personal           )
 Representative of the Estate of       )
 GEORGE SIEBLER, deceased,             )
                                       )
                                       )             Case No. 1:18-cv-23684
                Plaintiff,             )
 v.                                    )
                                       )
 PURDUE PHARMA, LP, and                )
 PURDUE PHARMA, INC.,                  )
                                       )             DEMAND FOR JURY TRIAL
                                       )
                Defendants.            )

               PLAINTIFF’S NOTICE OF FILING PROPOSED SUMMON(ES)

       Plaintiff CARMEN SIEBLER, as Personal Representative of the Estate of GEORGE

 SIEBLER, deceased, hereby gives notice of filing the attached proposed Summonses for

 Defendants.

 DATED: September 24, 2018             Respectfully submitted,

                                       By:    /s/ Joseph A. Osborne
                                              Joseph A. Osborne, FL Bar No. 880043
                                              Counsel for Plaintiff
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                                              Attorney for Plaintiff
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                                   CERTIFICATE OF SERVICE

        I certify that on September 24, 2018, I electronically filed this document with the clerk of
 the court using the CM/ECF system, which will send notification of this filing to CM/ECF
 participants registered to receive service in this case.



                                                By:     /s/ Joseph A. Osborne
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